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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 18-80160-CR-DIMITROULEAS

  UNITED STATES OF AMERICA,

                 Plaintiff,

  vs.

  RAUL GORRIN BELISARIO,

                 Defendant.
                                     /

           MOTION TO WITHDRAW AS COUNSEL FOR THE UNITED STATES

         COMES NOW the United States of America, by and through its counsel, Nicole Grosnoff,

  and moves this Court to allow her to withdraw as counsel for the United States in the above-styled

  case. Assistant United States Attorney Grosnoff is no longer assigned as counsel in this case.

  Assistant United Attorney Nalina Sombuntham shall remain as counsel for the United States for

  the purpose of addressing asset forfeiture matters in this case.


                                                        Respectfully submitted,

                                                        ARIANA FAJARDO ORSHAN
                                                        UNITED STATES ATTORNEY

                                                By:     /s/ Nicole Grosnoff
                                                        Nicole Grosnoff
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